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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

        v.
                                                     Case No. 18 Cr. 36 (JPO)
 DAVID MIDDENDORF, et al.,

                               Defendants.


         DEFENDANTS DAVID MIDDENDORF, THOMAS WHITTLE, AND
       DAVID BRITT’S NOTICE OF MOTION TO DISMISS THE INDICTMENT

       PLEASE TAKE NOTICE that, upon the accompanying Joint Memorandum of Law and

two Supplemental Memoranda of Law, the undersigned will move this Court before the

Honorable J. Paul Oetken, United States District Judge, in Courtroom 706 of the United States

District Court, 40 Foley Square, New York, New York 10007, on May 31, 2018, at 3:00 PM, for

an order dismissing the Indictment under Federal Rules of Criminal Procedure 12(b)(1) and

(b)(3)(B)(v). Pursuant to this Court’s order, answering papers by the Government, if any, shall

be filed on or before May 11, 2018, and reply papers by Defendants, if any, shall be filed on or

before May 25, 2018.
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Dated: April 13, 2018                          Respectfully submitted,
       New York, New York

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                                               *Signed with the consent of counsel




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